Case 1:10-cv-04589-NGG-SJB Document 223 Filed 09/08/23 Page 1 of 3 PageID #: 1811

                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
  MKM/TH/AR                                          271 Cadman Plaza East
                                                     Brooklyn, New York 11201


                                                     September 8, 2023

  By ECF

  The Honorable Sanket J. Bulsara
  United States Magistrate Judge
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

                Re:     LoCurto v. United States, 10-CV-4589 (NGG) (SJB)
                        Related to United States v. LoCurto, 03-CR-1382 (NGG)

  Dear Judge Bulsara:

                 The government respectfully submits this letter in advance of the evidentiary
  hearing scheduled in the above-captioned case. The evidentiary hearing was ordered to
  address whether defendant-petitioner Stephen LoCurto can establish that he suffered legally
  cognizable prejudice as a result of advice given to him by Laura Oppenheim, Esq., an
  attorney who at no point served as LoCurto’s attorney of record. In order to prevail, LoCurto
  must demonstrate that but for his “counsel’s deficient performance there is a reasonable
  probability he and the trial court would have accepted the guilty plea.” Lafler v. Cooper, 566
  U.S. 156, 171-74 (2012).

                In addition to the legal bases on which his petition should be denied,1 LoCurto
  cannot prevail if he does not prove at the evidentiary hearing that: (1) a plea offer was
  extended to LoCurto; (2) LoCurto would have pleaded guilty to racketeering conspiracy and

         1
            It is the government’s position that LoCurto cannot prevail as a matter of law for the
  reasons set forth in its prior submissions in this matter, which are incorporated by reference.
  See Gov.’s Mem. of Law in Opp’n to Petitioner’s Application Pursuant to 28 U.S.C. § 2255,
  dated February 6, 2013 (Dkt. No. 28); Gov.’s Response in Opp’n to Mot. for Discovery,
  dated July 12, 2013 (Dkt. No. 38); Gov.’s Mot. for Reconsideration, dated July 26, 2013
  (Dkt. No. 43); Gov.’s Objections to the Report and Recommendation, dated Feb. 16, 2016
  (Dkt. No. 74); Gov.’s Request for Briefing Schedule, dated Nov. 12, 2021 (Dkt. No. 171). In
  addition, the government anticipates that LoCurto will be unable to meet his burden on the
  factual issues to be addressed in the upcoming hearing, which will provide additional bases
  for denial of his petition.
Case 1:10-cv-04589-NGG-SJB Document 223 Filed 09/08/23 Page 2 of 3 PageID #: 1812




  accepted responsibility for, among other things, the murder of Joseph Platia; (3) the Court
  would have accepted LoCurto’s guilty plea and sentenced him to 20 years; (4) the
  relationship between LoCurto and Ms. Oppenheim was such that her faulty advice denied
  LoCurto of effective assistance of counsel; (5) LoCurto was not aware of the possibility that
  he might receive a life sentence if he proceeded to trial;2 and (6) LoCurto did not receive
  competent legal advice regarding his sentencing exposure from his counsel of record, Harry
  Batchelder, Esq.3




         2
           Cf. Chhabra v. United States, 720 F.3d 395, 408 (2d Cir. 2013) (“Where the
  defendant’s specific claim is that counsel has misled him as to the possible sentence which
  might result from a plea of guilty, the prejudice issue is whether the defendant was aware of
  actual sentencing possibilities, and if not, whether accurate information would have made
  any difference in his decision to enter a plea.”) (internal quotation marks and citations
  omitted).
         3
           A habeas petitioner cannot prevail on an ineffective assistance of counsel claim by
  ignoring competent advice from one counsel in favor of different advice from another
  attorney. See Logan v. United States, 910 F.3d 864, 869 (6th Cir. 2018); Clark v. Chappell,
  936 F.3d 944, 969 (9th Cir. 2019) (concluding, following Logan, that the petitioner was not
  prejudiced by one attorney’s advice to reject a plea deal because another of his attorneys
  advised him to accept it); see also United States v. Martini, 31 F.3d 781, 782 (9th Cir. 1994)
  (per curiam) (“The Sixth Amendment right to effective assistance of counsel . . . does not
  include the right to receive good advice from every lawyer a criminal defendant consults
  about his case. . . . If a criminal defendant in fact received effective assistance of counsel
  from the lawyer he has retained to meet the prosecution’s case, he cannot later claim that he
  received ineffective assistance of counsel from another lawyer he chose to consult.”);
  Stevens v. Lee, 2011 WL 8203860, at *10 (S.D.N.Y. Dec. 11, 2011) (“[T]here is simply no
  authority for the proposition that a conviction can be vacated because a defendant, who is
  represented by an attorney in a criminal proceeding, chooses to consult with another counsel
  who gives him poor advice. Because there is no constitutional right to consult with a second
  attorney, while represented in a criminal proceeding by another attorney who is
  unquestionably competent, the consulting attorney’s conduct does not implicate the Sixth
  Amendment right to counsel.”).


                                                2
Case 1:10-cv-04589-NGG-SJB Document 223 Filed 09/08/23 Page 3 of 3 PageID #: 1813




                 The government respectfully requests the Court’s permission to submit a post-
  hearing brief regarding the factual record as well as the relevant legal authority.

                                                   Respectfully submitted,

                                                   BREON PEACE
                                                   United States Attorney

                                            By:     /s/
                                                   M. Kristin Mace
                                                   Tanya Hajjar
                                                   Andrew Roddin
                                                   Assistant U.S. Attorneys
                                                   (718) 254-7000

  cc:    Counsel for the defendant-petitioner (by ECF and email)




                                               3
